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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA


                              Alexandria Division


 VIOLA LAIRD,

       Plaintiff,



 V.                                       Civil Action No. l:17-cv-1408



 FAIRFAX COUNTY VIRGINIA,


       Defendant.


                               MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendant's Motion for


 Summary Judgement.

       This case arises from Plaintiff Viola Laird's employment with

 Fairfax County, Virginia ("County"). Laird has been employed by

 the   County     since    October   3,   1994.   She    suffers       from   Multiple

 Sclerosis. Until May 14, 2017, Laird was employed with the County's

 Department of Procurement and Material Management ("DPMM"), most

 recently    as    a    Contract   Specialist     I.    In    that    role,    her   job

 responsibilities         included   determining        the       proper   methods    of

 procurement;      processing      purchase   orders         to    procure    necessary

 supplies, equipment and services in accordance with federal, state

 and    county     rules     and     regulations;       developing         competitive

 solicitation packages, including invitations for bids, informal

 procurement, and requests for proposals; conducting conferences,
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